











Opinion issued December 23, 2008
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In The
Court of Appeals
For The
First District of Texas




NO. 01-08-00978-CV




IN RE RICHARD L. DOCKUM, Relator




Original Proceeding On Petition For Writ Of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, Richard L. Dockum, seeks relief
compelling the trial court to respond to his request for findings of fact and
conclusions of law.      
We deny the petition for writ of mandamus.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Per Curiam
&nbsp;
Panel consists of Justices Jennings, Hanks, and Bland.  


